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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


                                                         CIVIL ACTION NO: 2011-cv-00710
 721 BOURBON, INC.

                                                         SECTION: “F”
 VERSUS                                                  HON. MARTIN L.C. FELDMAN

                                                         MAGISTRATE DIV.“2”
 B.E.A., INC., BRADLEY S. BOHANNAN, STEPHEN              HON. JOSEPH C. WILKINSON, JR.
 J. SMITH, AND ARITA M.L. BOHANNAN
                                                         JURY DEMAND



 ANSWER, AFFIRMATIVE DEFENSES, COUNTERCLAIMS AND REQUEST
                     FOR TRIAL BY JURY

       NOW INTO COURT, through undersigned counsel, come Defendants, B.E.A.,

INC.   (“BEA     DEFENDANT”),        BRADLEY        S.    BOHANNAN        (“BOHANNAN

DEFENDANT”), AND STEPHEN J. SMITH (“SMITH DEFENDANT”) (collectively

referred to herein as “Defendants”) who hereby respond to the allegations in the

Complaint for Monetary and Injunctive Relief filed by 721 Bourbon, Inc. (“Plaintiff”) as

follows:

       Pursuant to Federal Rule of Civil Procedure 8 (b), Defendants deny all averments

in the complaint, except as specifically admitted below in the number paragraphs

corresponding to the numbered allegations in the complaint.

                                    THE PARTIES

       1.      Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 1 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.
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       2.      Defendants admit that B.E.A., Inc. is a Louisiana corporation which owns

and operates Turtle Bay located at 1119 Decatur Street, in the New Orleans French

Quarter. To the extent the allegations of paragraph 2 of the Complaint vary therefrom,

they are denied and Plaintiff is left to specific proofs thereof. All other allegations of

paragraph 41 of the Complaint are denied.

       3.      Defendants admit that Bradley S. Bohannan is an individual, domiciled in

Kenner, Louisiana; a former employee and manager of Tropical Isle Bourbon, Tropical

Isle® Original, Tropical Isle Original Papa Joe’s, Tropical Isle® Bayou Club & Music

Bar, Funky Pirate, and Orleans Grapevine; and a former director and shareholder of

Tropical Isle’s Original Papa Joe’s, Inc.. To the extent the allegations of paragraph 3 of

the Complaint vary therefrom, they are denied and Plaintiff is left to specific proofs

thereof. All other allegations of paragraph 3 of the Complaint are denied.

       4.      Defendants admit that Stephen J. Smith is an individual, domiciled in

Slidell, Louisiana; a former employee of Tropical Isle Original; and a former employee

and assistant manager of Tropical Isle® Original Papa Joe’s and Tropical Isle® Bayou

Club & Music Bar. To the extent the allegations of paragraph 4 of the Complaint vary

therefrom, they are denied and Plaintiff is left to specific proofs thereof. All other

allegations of paragraph 4 of the Complaint are denied.

       5.      Defendants admit that Arita M.L. Bohannan is an individual, domiciled in

Kenner, Louisiana and the wife of Bradley S. Bohannan. To the extent the allegations of

paragraph 5 of the Complaint vary therefrom, they are denied and Plaintiff is left to

specific proofs thereof. All other allegations of paragraph 5 of the Complaint are denied.



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                                    NATURE OF ACTION

       6.      The allegations in paragraph 6 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 6 of the Complaint.

                                        JURIDICTION

       7.      The allegations in paragraph 7 of the Complaint are admitted.

                                               VENUE

       8.      The allegations in paragraph 8 of the Complaint are admitted.

                                  STATEMENT OF FACTS

       9.      Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 9 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

       10.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 10 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

       11.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 11 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

       12.     Defendants specifically deny that Plaintiff has served the Tropical Isle’s

Hand Grenade® cocktail in the Yard Cup Design since at least as early as January 10,

1992. With regards to the remaining allegation of paragraph 12 of the Complaint,

Defendants are without sufficient information to form a reasonable belief as to the truth



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or falsity of the remaining allegations in paragraph 12 of the Complaint, accordingly the

allegations are denied, and Defendants demand strict proof of same.

       13.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 13 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

       14.     Defendants specifically deny that the reputation of the Yard Cup Design

has grown continuously over the past 19 years. Defendants also specifically deny that the

Yard Cup Design is inherently distinctive as packaging and has acquired distinctiveness,

and secondary meaning, as a stand alone product design. With regards to the remaining

allegation of paragraph 14 of the Complaint, Defendants are without sufficient

information to form a reasonable belief as to the truth or falsity of the remaining

allegations in paragraph 14 of the Complaint, accordingly the allegations are denied, and

Defendants demand strict proof of same.

       15.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 15 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

       16.     The Defendants admit that the Director’s of Tropical Isle’s Original Papa

Joe’s, Inc., Earl Bernhardt, Pamela A. Fortner are also the directors of Plaintiff. With

regards to the remaining allegations of paragraph 16 of the Complaint, Defendants are

without sufficient information to form a reasonable belief as to the truth or falsity of the

allegations in paragraph 16 of the Complaint, accordingly the allegations are denied, and

Defendants demand strict proof of same.



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        17.    Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 17 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

        18.    Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 18 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

        19.    Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 19 of the Complaint, accordingly

the allegations are denied, and Defendants demand strict proof of same.

         20.   The allegations in paragraph 20 of the Complaint are denied. Defendants

specifically deny the allegations of paragraph 20 of the Complaint with regard to the

knowledge or existence of confidential business information and trade secrets owned by

Plaintiff.

         21.   Defendants admit that B.E.A., Inc. is incorporated in Louisiana and owns

and operates Turtle Bay located at 1119 Decatur Street, New Orleans, LA. To the extent

the allegations of paragraph 21 of the Complaint vary therefrom, they are denied and

Plaintiff is left to specific proofs thereof. The remainder of the allegations in paragraph

21 of the Complaint is denied.

         22.   Defendants admit that Bradley S. Bohannan is a former employee and

manager of Tropical Isle Bourbon, Tropical Isle® Original, Tropical Isle Original Papa

Joe’s, Tropical Isle® Bayou Club & Music Bar, Funky Pirate, and Orleans Grapevine;

and a former director and shareholder of Tropical Isle’s Original Papa Joe’s, Inc..



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Defendants further admit that Stephen J. Smith is a former employee of Tropical Isle

Original; and a former employee and assistant manager of Tropical Isle® Original Papa

Joe’s and Tropical Isle® Bayou Club & Music Bar. To the extent the allegations of

paragraph 22 of the Complaint vary therefrom, they are denied and Plaintiff is left to

specific proofs thereof.     The remainder of the allegations in paragraph 22 of the

Complaint is denied.

        23.    The allegations in paragraph 23 of the Complaint are denied.

        24.    The allegations in paragraph 24 of the Complaint are denied. Defendants

specifically deny the allegations of paragraph 24 of the complaint with regards to

premeditation and intent.

        25.    The allegations in paragraph 25 of the Complaint are denied.

        26.    Defendants admit that on January 27, 2011, Bradley S. Bohannan and

Stephen J. Smith formed and registered a limited liability company under the name:

“Turtle Bay on Bourbon, L.L.C.” To the extent the allegations of paragraph 26 of the

Complaint vary therefrom, they are denied and Plaintiff is left to specific proofs thereof.

The remainder of the allegations in paragraph 26 of the Complaint is denied.

        27.    The allegations in paragraph 27 of the Complaint are denied.

        28.    The allegations in paragraph 28 of the Complaint are denied.

        29.    The allegations in paragraph 29 of the Complaint are denied.

        30.    The allegations in paragraph 30 of the Complaint are denied.

        31.    The allegations in paragraph 31 of the Complaint are denied. Defendants

specifically deny the allegations of paragraph 31 of the complaint with regards to intent.



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        32.    The allegations in paragraph 32 of the Complaint are denied. Moreover,

the Plaintiff’s allegations in paragraph 32 of the Complaint that the Yard Cup Design is

inherently distinctive as packaging and is non-functional are specifically denied.

        33.    The allegations in paragraph 33 of the Complaint are denied. Moreover,

the Plaintiff’s allegations in paragraph 33 of the Complaint that the Yard Cup Design is

inherently distinctive as a trademark and has acquired distinctiveness and secondary

meaning are specifically denied.

       34.     The allegations in paragraph 34 of the Complaint are denied.

       35.     The allegations in paragraph 35 of the Complaint are denied. Defendants

specifically deny the allegations of paragraph 35 of the Complaint with regards to

willfulness.

       36.     The allegations in paragraph 36 of the Complaint are denied.

       37.     Defendants admit that Bradley S. Bohannan is a former employee and

manager of Tropical Isle Bourbon, Tropical Isle® Original, Tropical Isle Original Papa

Joe’s, Tropical Isle® Bayou Club & Music Bar, Funky Pirate, and Orleans Grapevine;

and a former director and shareholder of Tropical Isle’s Original Papa Joe’s, Inc. To the

extent the allegations of paragraph 37 of the Complaint vary therefrom, they are denied

and Plaintiff is left to specific proofs thereof. All other allegations of paragraph 37 of the

Complaint are denied.

       38.     Defendants admit that Bradley S. Bohannan executed a Confidentiality

Information Agreement on December 28, 2006.              To the extent the allegations of

paragraph 38 of the Complaint vary therefrom, they are denied and Plaintiff is left to



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specific proofs thereof.    The remainder of the allegations in paragraph 38 of the

Complaint is denied.

        39.    Defendants admit that in 2004 Bradley S. Bohannan became the director

of Tropical Isle’s Original Papa Joe’s, Inc., and acquired a one-third interest therein. To

the extent the allegations of paragraph 39 of the Complaint vary therefrom, they are

denied and Plaintiff is left to specific proofs thereof. The remainder of the allegations in

paragraph 39 of the Complaint is denied.

        40.    Defendants admit that on February 18, 2010, Bradley S. Bohannan and the

remaining Tropical Isle’s Original Papa Joe’s, Inc.’s shareholders entered into a Stock

Redemption Agreement whereby Tropical Isle’s Original Papa Joe’s, Inc. purchased the

shares held by Bradley S. Bohannan. To the extent the allegations of paragraph 40 of the

Complaint vary therefrom, they are denied and Plaintiff is left to specific proofs thereof.

The remainder of the allegations in paragraph 40 of the Complaint is denied.

        41.    Defendants admit that the Stock Redemption Agreement contains a non-

disparagement and confidentiality clause. To the extent the allegations of paragraph 41 of

the Complaint vary therefrom, they are denied and Plaintiff is left to specific proofs

thereof. All other allegations of paragraph 41 of the Complaint are denied.

        42.    The allegations in paragraph 42 of the Complaint are denied. Defendants

specifically deny the allegations of paragraph 42 of the Complaint with regard to the

knowledge or existence of confidential business information and trade secrets owned by

Plaintiff.




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          43.   Defendants admit that Bradley S. Bohannan is part owner and officer of

B.E.A., Inc. To the extent the allegations of paragraph 43 of the Complaint vary

therefrom, they are denied and Plaintiff is left to specific proofs thereof. All other

allegations of paragraph 43 of the Complaint are denied.

          44.   The allegations in paragraph 44 of the Complaint are denied.

          45.   Defendants admit that Stephen J. Smith is a former employee of Tropical

Isle Original; and a former employee and assistant manager of Tropical Isle® Original

Papa Joe’s and Tropical Isle® Bayou Club & Music Bar. To the extent the allegations of

paragraph 45 of the Complaint vary therefrom, they are denied and Plaintiff is left to

specific proofs thereof. All other allegations of paragraph 45 of the Complaint are

denied.

          46.   Defendants admit that Stephen J. Smith executed a Confidential

Information Agreement on January 13, 2007. To the extent the allegations of paragraph

46 of the Complaint vary therefrom, they are denied and Plaintiff is left to specific proofs

thereof. The remainder of the allegations in paragraph 46 of the Complaint is denied.

          47.   The allegations in paragraph 47 of the Complaint are denied. Defendants

specifically deny the allegations of paragraph 47 of the Complaint with regard to the

knowledge or existence of confidential business information and trade secrets owned by

Plaintiff.

          48.   Defendants admit that Stephen J. Smith resigned from Tropical Isle

Original Papa Joe’s and Tropical Isle® Bayou Club & Music Bar in July of 2009 and

Stephen J. Smith is part owner and officer of B.E.A., Inc. To the extent the allegations of



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paragraph 48 of the Complaint vary therefrom, they are denied and Plaintiff is left to

specific proofs thereof.   The remainder of the allegations in paragraph 48 of the

Complaint is denied.

       49.     Defendants admit that Stephen J. Smith is not a party to the Stock

Redemption Agreement. To the extent the allegations of paragraph 49 of the Complaint

vary therefrom, they are denied and Plaintiff is left to specific proofs thereof. The

remainder of the allegations in paragraph 49 of the Complaint is denied.

       50.     The allegations in paragraph 50 of the Complaint are denied.

       51.     Defendants admit that Arita M. L. Bohannan is the wife of Bradley S.

Bohannan. To the extent the allegations of paragraph 51 of the Complaint vary therefrom,

they are denied and Plaintiff is left to specific proofs thereof. The remainder of the

allegations in paragraph 51 of the Complaint is denied.

       52.     The allegations in paragraph 52 of the Complaint are denied.

       53.     The allegations in paragraph 53 of the Complaint are denied.

       54.     The allegations in paragraph 54 of the Complaint are denied.

       55.     The allegations in paragraph 55 of the Complaint are denied.

       56.     Defendants admit that Arita M. L. Bohannan is a party to the Stock

Redemption Agreement which contains a non-disparagement and confidentiality clause.

To the extent the allegations of paragraph 56 of the Complaint vary therefrom, they are

denied and Plaintiff is left to specific proofs thereof. All other allegations of paragraph

56 of the Complaint are denied.

       57.     The allegations in paragraph 57 of the Complaint are denied.



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          58.   The allegations in paragraph 58 of the Complaint are denied.

          59.   The allegations in paragraph 59 of the Complaint are denied.

          60.   The allegations in paragraph 60 of the Complaint are denied.

          61.   The allegations in paragraph 61 of the Complaint are denied.

                                COUNT I
                    FEDERAL TRADE DRESS INFRINGEMENT

          62.   Defendants incorporate and re-allege their response to paragraphs 1-61 of

the Complaint as set forth above.

          63.   The allegations in paragraph 63 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 63 of the Complaint.

          64.   Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 64 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

          65.   Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 65 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same. Moreover, the Plaintiff’s

allegation that its drinking cup, the Yard Cup Design, designed for the purpose of

providing a user a vessel from with which to drink from, is “entirely non-functional” is

denied.

          66.   Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 66 of the Complaint, accordingly

the allegation is denied, and demands strict proof of same.


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       67.     Defendants deny the allegations of paragraph 67 of the Complaint.

       68.     Defendant deny the allegations of paragraph 68 of the Complaint.

       69.     The allegations in paragraph 69 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 69 of the Complaint.

       70.     The allegations in paragraph 70 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 70 of the Complaint.

       71.     Defendants deny the allegations of paragraph 71 of the Complaint.

       72.     Defendants deny the allegations of paragraph 72 of the Complaint.

       73.     The allegations in paragraph 73 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 73 of the Complaint.

       74.     The allegations in paragraph 74 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 74 of the Complaint.

       75.     The allegations in paragraph 75 of the Complaint contain conclusions of

law to which no response is required. To the extent a response is required, Defendants

deny the allegations in paragraph 75 of the Complaint. Defendants specifically deny the

allegations of paragraph 75 of the complaint with regard to intent.




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       76.     The allegations in paragraph 76 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 76 of the Complaint.

                            COUNT II
         FEDERAL INFRINGEMENT OF UNRESTERED TRADEMARK

       77.     Defendants incorporate and re-allege their responses to paragraphs 1-76 of

the Complaint as set forth above.

       78.     The allegations in paragraph 78 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 78 of the Complaint.

       79.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations of paragraph 79 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       80.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 80 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       81.     The allegations in paragraph 81 of the Complaint contain conclusions of

law to which no response is required. To the extent a response is required, Defendants

deny the allegations in paragraph 81 of the Complaint. Defendants specifically deny the

allegations of paragraph 81 of the Complaint with regard to similarity and likelihood of

confusion.

       82.     Defendants deny the allegations of paragraph 82 of the complaint.




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       83.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations in paragraph 83 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       84.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations of paragraph 84 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       85.     The allegations in paragraph 85 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 85 of the Complaint.

       86.     The allegations in paragraph 86 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 86 of the Complaint.

       87.     The allegations in paragraph 87 of the Complaint contain conclusions of

law to which no response is required. To the extent a response is required, Defendants

deny the allegations in paragraph 87 of the Complaint. Defendants specifically deny the

allegations of paragraph 87 of the complaint with regard to intent.

       88.     The allegations in paragraph 88 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 88 of the Complaint.

                        COUNT III
FEDERAL UNFAIR COMPETITION AND FALSE DESIGNATION OF ORIGIN

       89.     Defendants incorporate and re-allege their responses to paragraphs 1-88 of

the Complaint as set forth above.


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       90.     The allegations in paragraph 90 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 90 of the Complaint.

       91.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations of paragraph 91 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       92.     The allegations in paragraph 92 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 92 of the Complaint.

       93.     Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations of paragraph 93 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       94.     The allegations in paragraph 94 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 94 of the Complaint.

       95.     The allegations in paragraph 95 of the Complaint contain conclusions of

law to which no response is required.       To the extent a response is required, BEA

Defendants deny the allegations in paragraph 95 of the Complaint.               Defendants

specifically deny the allegations of paragraph 95 of the complaint with regard to intent.

       96.     The allegations in paragraph 96 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 96 of the Complaint.



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       97.     The allegations in paragraph 97 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 97 of the Complaint.

                          COUNT IV
INJURY TO BUSINESS REPUTATION AND TRADEMARK DILUTION UNDER
             THE LOUISIANA ANTIDILUTION STATUTE

       98.     Defendants incorporate and re-allege their responses to paragraphs 1-97 of

the Complaint as set forth above.

       99.     The allegations in paragraph 99 of the Complaint are conclusions of law to

which no response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 99 of the Complaint.

       100.    The allegations in paragraph 100 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 100 of the Complaint.

                               COUNT V
                   MISAPPROPRIATION OF TRADE SECRETS

       101.    Defendants incorporate and re-allege their responses to paragraphs 1-100

of the Complaint as set forth above.

       102.    The allegations in paragraph 102 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 102 of the Complaint.

       103.    The allegations in paragraph 103 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 103 of the Complaint.


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       104.    Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations of paragraph 104 of the Complaint, accordingly

the allegations are denied, and demands strict proof of same.

       105.    Defendants are without sufficient information to form a reasonable belief

as to the truth or falsity of the allegations of paragraph 105 of the Complaint, accordingly

the allegation is denied, and demands strict proof of same.

       106.    The allegations in paragraph 106 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 106 of the Complaint.

       107.    The allegations in paragraph 107 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 107 of the Complaint. Defendants specifically deny the

allegations of paragraph 107 of the complaint with regard to the knowledge or existence

of trade secrets owned by Plaintiff.

       108.    The allegations in paragraph 108 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 108 of the Complaint.

       109.    The allegations in paragraph 109 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 109 of the Complaint.




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       110.    The allegations in paragraph 110 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 110 of the Complaint.

                                   COUNT VI
                            UNFAIR TRADE PRACTICES

       111.    Defendants incorporate and re-allege their responses to paragraphs 1-110

of the Complaint as set forth above.

       112.    The allegations in paragraph 112 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 112 of the Complaint.

       113.    The allegations in paragraph 113 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 113 of the Complaint.

       114.    The allegations in paragraph 114 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 114 of the Complaint.

       115.    The allegations in paragraph 115 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Defendants deny

the allegations in paragraph 115 of the Complaint.

                                  COUNT VII
                             BREACH OF OBLIGATION

       116.    Smith Defendant and Bohannan Defendant incorporate and re-allege its

responses to paragraphs 1-115 of the Complaint as set forth above.



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       117.    The allegations in paragraph 117 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Smith Defendant

and Bohannan Defendant deny the allegations in paragraph 115 of the Complaint.

       118.    The allegations in paragraph 118 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Smith Defendant

and Bohannan Defendant deny the allegations in paragraph 118 of the Complaint.

       119.    The allegations in paragraph 119 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Smith Defendant

and Bohannan Defendant deny the allegations in paragraph 119 of the Complaint.

       120.    The allegations in paragraph 120 of the Complaint are conclusions of law

to which no response is required. To the extent a response is required, Smith Defendant

and Bohannan Defendant deny the allegations in paragraph 120 of the Complaint.

                               AFFIRMATIVE DEFENSES

                                First Affirmative Defense

       The Complaint fails to state any claim or cause of action upon which relief can be

granted, because, inter alia, Plaintiff does not own the design for the Yard Cup Design in

question.
                               Second Affirmative Defense

       Defendants assert the right of offset to Plaintiff’s claims, as, inter alia, Bohannan

Defendant owns the artistic rights to the Yard Cup Design and has not been compensated

for Plaintiff’s use of same.




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                                 Third Affirmative Defense

        Plaintiff’s claims are barred in whole or in part by Plaintiff’s unclean hands, as,

inter alia, it has misrepresented the origin of the Yard Cup Design and used it without

continued authorization from Bohannan Defendant.

                                Fourth Affirmative Defense

        Some or all of the claims against Defendants asserted in the Complaint are barred

by the applicable statute of limitations, prescriptive and peremptive periods, contractual

limitations period, and/or laches.

                                 Fifth Affirmative Defense

        Plaintiff’s claims are barred in whole or in part by the doctrine of waiver as, inter

alia, Plaintiff through their principals have contractually waived and released Defendants

from any and all claims or causes of actions pursuant to the terms of the Stock

Redemption Agreement.

                                 Sixth Affirmative Defense

        Defendants at all times complied with all applicable laws, regulations, and

standards.

                               Seventh Affirmative Defense

        The terms, conditions, and provisions of the documents memorializing Plaintiff’s

alleged agreement(s) with Defendants (“Agreement”) are specifically and affirmatively

pled herein, as though copied herein in extenso, which terms, conditions, and provisions

act to bar and/or limit the claims of Plaintiff.



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                                 Eighth Affirmative Defense

          Defendants did not breach any duties owed to Plaintiff, including any duties

imposed on Defendants in the Agreements or by law.

                                  Ninth Affirmative Defense

          Defendants at all times acted with due care, diligence, in good faith, and without

malice.


                                  Tenth Affirmative Defense


          The claims asserted by Plaintiff should be dismissed or, alternatively, its damages,

if any, should be reduced due to failure of conditions precedent.

                                Eleventh Affirmative Defense

          Plaintiff has sustained no damages proximately caused by Defendants.

                                 Twelfth Affirmative Defense

          No act or omission of Defendants was a cause-in-fact of any of Plaintiff's alleged
injuries.

                               Thirteenth Affirmative Defense
          If there are any damages sustained by Plaintiff, such damages are the result of acts
or omissions of parties other than Defendants, and for whom Defendants are not legally
responsible.

                               Fourteenth Affirmative Defense

          Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel.




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                              Fifteenth Affirmative Defense

       Plaintiff’s claims are barred by laches as, inter alia, Defendants have been, with

Plaintiff’s knowledge, using Bohannan Defendant’s cup design for over five months

without any notice from Plaintiff.

                              Sixteenth Affirmative Defense

       Plaintiff’s claims are barred because Plaintiff failed to mitigate its damage.

                            Seventeenth Affirmative Defense

       Plaintiff’s claims are barred because Plaintiff’s alleged damages were caused by

Plaintiff’s own actions and inactions.

                             Eighteenth Affirmative Defense

       Plaintiff’s claims are barred due to Defendants’ fair use of the mark/dress at issue.

Yard cups having similar designs are well-known in the industry and have been for many

years prior to any such use by Plaintiff.

                             Nineteenth Affirmative Defense

       Plaintiff’s claims are barred because any applicable trademark was obtained by

fraud, as Plaintiff has sworn in its trade dress application false claims that: 721 Bourbon,

Inc. is the owner of same and that 01/10/1992 is the date of first use.

                             Twentieth Affirmative Defense

       Plaintiff’s claims are barred for Plaintiff’s trademark misuse and use of the mark

in a manner against public policy because the trade dress that is granted is so similar, by

Plaintiff’s own admission, to existing trade dress that it would be against public policy to

permit it to become registered.



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                             Twenty First Affirmative Defense

         Plaintiff’s claims are barred by the doctrine of acquiescence, since Defendants

have been utilizing its cup design for at least five months without notice from Plaintiff.

                            Twenty Second Affirmative Defense

         Plaintiff’s claims are barred by the doctrine of equitable estoppel.

                            Twenty Third Affirmative Defense

         Plaintiff’s claims are barred because Plaintiff’s trademark is generic, and the

Plaintiff’s basic yard cup design is used by several of Plaintiff’s competitors for years,

and has been a known design for decades.

                            Twenty Fourth Affirmative Defense

         Plaintiff’s claims are barred by Plaintiff’s misuse of the trademark at issue.

                             Twenty Fifth Affirmative Defense

         Plaintiff’s claims are barred by the Plaintiff’s abandonment of the trademark at

issue.

                             Twenty Sixth Affirmative Defense

         Plaintiff’s claims are barred because the Plaintiff’s mark is diluted and/or weak.

                           Twenty Seventh Affirmative Defense

         Defendants have not directly infringed, indirectly infringed, contributed to or

induced infringement of any valid trademark and has not otherwise committed any acts in

violation of, inter alia, Section 43(a) of the Lanham Act, Section 32(1) of the Lanham

Act, and/or La. R.S. 51:1401.




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                          Twenty Eighth Affirmative Defense

       Defendants have, at all times, adequately represented the nature, characteristics,

qualities and origin of the goods and services they provide to consumers.

                           Twenty Ninth Affirmative Defense

       Defendants have, at all times, adequately represented the source of its products

and the identity of the creating company.

                               Thirtieth Affirmative Defense

       Plaintiff has failed to state a claim alleging the likelihood of or actual confusion

on the part of the consumer.

                            Thirty First Affirmative Defense

       Plaintiff has failed to state a claim alleging infringement of a registered mark.

                           Thirty Second Affirmative Defense

       Plaintiff has failed to state a claim for dilution of a famous mark.

                           Thirty Third Affirmative Defense

       Plaintiff has failed to state a claim for trade dress infringement.

                           Thirty Fourth Affirmative Defense

       Defendants have not engaged in any activities that are likely to cause confusion of

consumers as to the nature, characteristics or origin of their goods and services.




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                             Thirty Fifth Affirmative Defense

       Any similarity between the products produced by Defendants and those produced

by Plaintiff are functional, and thus, are not subject to legal protection under trademark or

unfair competition laws.

                             Thirty Sixth Affirmative Defense

       Defendants owe no duty to protect or to maintain Plaintiff's alleged trade secrets

or allegedly confidential or proprietary information.

                             Thirty Seven Affirmative Defense

Defendants have, at all times, fairly used Plaintiff’s alleged mark. See 15 U.S.C. §

1115(b)(4).

                             Thirty Eighth Affirmative Defense

       Defendants did not use any allegedly confidential, proprietary or secret

information in breach of any duty to maintain the secrecy of such information.

                             Thirty Ninth Affirmative Defense

       Some or all of Plaintiff's claims under the Louisiana Unfair Trade Practices Act

are statutorily perempted.

                               Fortieth Affirmative Defense

       Plaintiff has failed to adequately plead any claim under the Louisiana Unfair

Trade Practices Act.




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                             Forty First Affirmative Defense

       Plaintiff has failed to state a claim for unfair methods of competition and/or unfair

or deceptive acts in the conduct of a trade or commerce under applicable law.

                           Forty Second Affirmative Defense

       Defendants have not engaged in any activities that would offend public policy, or

that are immoral, unethical, oppressive, unscrupulous, or injurious to consumers.

                            Forty Third Affirmative Defense

       Plaintiff has failed to state a claim for breach of obligation under applicable law.

Defendants, at all times, acted in good faith, complied with applicable law, and fulfilled

the terms and conditions set forth in the Agreements.

                           Forty Fourth Affirmative Defense

       Some or all of Plaintiff's claims are barred by the Louisiana Restraint of Business

Statute, Louisiana Revised Statute 23:921.

                            Forty Fifth Affirmative Defense

       Plaintiff is not entitled to injunctive relief because they are unable to demonstrate:

(1) a substantial likelihood of prevailing on the merits; (2) a substantial threat of

irreparable injury if the injunction is not granted; (3) that the threatened injury outweighs

any harm that will result to the nonmovant if the court grants the injunction; (4) that the

injunction will not disserve the public interest; and (5) Plaintiff would have an adequate

remedy at law. See Advocacy Ctr. for the Elderly and Disabled v. Louisiana Dept. of

Health and Hosp., --F. Supp. 2d---, 2010 WL 3199848, at *4 (E.D. La. 8/9/10) (J. Vance)


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(citing La. Union Del Pueblo Entero v. Fed. Emergency Mgmt. Agency, 608 F.3d 217

(5th Cir. 2010); DSC Commc‘n Corp. v. DGI Tech., Inc., 81 F.3d 597, 600 (5th Cir.

1996)); see also Foster v. Super Vending, Inc., No. 94-3637, 1995 WL 7430, at *8 (E.D.

La. Jan. 9, 1995).

                            Forty Sixth Affirmative Defense

       Plaintiff failed to take reasonable precautions to guard its allegedly confidential,

proprietary or secret information.

                           Forty Seventh Affirmative Defense

       In the alternative, if Plaintiff is entitled to any relief, which is denied, Plaintiff’s

damages are subject to the liquidated damages provision of the Stock Redemption

Agreement.

                            Forty Eight Affirmative Defense

       The damages Plaintiff seeks are not recoverable or are otherwise limited under

applicable law.

                            Forty Ninth Affirmative Defense

       Defendants plead each and every affirmative defense set forth in Louisiana Code

of Civil Procedure Article 1005 as if copied herein verbatim and in toto.

                               Fiftieth Affirmative Defense

       Defendants’ conduct complained of by Plaintiff was not willful or intentional.




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                             Fifty First Affirmative Defense

        Some or all of the claims asserted by the Plaintiff should be dismissed, or

alternatively, Plaintiff's damages, if any, should be reduced, due to Plaintiff's own

negligent or wrongful conduct.

                             Fifty First Affirmative Defense

        The claims asserted by Plaintiff are barred by the doctrines of accord and

satisfaction.

                           Fifty Second Affirmative Defense

        Defendants cannot be held liable for the fraudulent acts, misrepresentations, or

omissions of any other person or party.

                            Fifty Third Affirmative Defense

        Some or all of the claims asserted against Defendants are preempted or otherwise

precluded by the applicable Agreements, statute, regulation or law.

                           Fifty Fourth Affirmative Defense

        Plaintiff has failed to meet the statutory requirements for the recovery of damages

under a claim for unfair methods of competition and/or unfair or deceptive acts in the

conduct of a trade or commerce under applicable law.




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                              Fifty Fifth Affirmative Defense

Plaintiff’s claims for breach of obligation are barred because Plaintiff lacks standing as

Plaintiff is not a party to either the Stock Redemption Agreement or the Confidential

Information Agreements.

                              Fifty Sixth Affirmative Defense

        Defendants deny all allegations contained in the Complaint that Defendants have

not specifically admitted above

                            Fifty Seventh Affirmative Defense

        Without waiving any of the defenses elsewhere asserted herein, Defendant asserts,

and reserves the right to file and present all other defenses to Plaintiff’s Complaint that

might in the future arise as a result of discovery or during the trial in this case.

                                    COUNTERCLAIMS

        Defendants assert the following counterclaims against Plaintiff, and states as

follows:

        1.      This Court has jurisdiction over the counterclaims under 28 U.S.C. §

1367. These counterclaims arise out of the alleged conduct and controversy set forth in

Plaintiff’s Complaint and related actions arising under state law.

        2.      Without foregoing its right to object to venue asserted by Plaintiff, Venue

is proper over this counterclaim in this district pursuant to 28 U.S.C. § 1391(b) and (c).




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                                      COUNT I
                                DECLATORY JUDGMENT

          3.    By its Complaint, Plaintiff has requested a judgment that Defendants have

infringed the Plaintiff’s trade dress, and that as a result, Plaintiff is entitled to damages

from Defendants.

          4.    An actual and justiciable controversy exists between Defendants and

Plaintiff with respect to the validity, enforceability and infringement of Plaintiff’s alleged

trademarks/trade dress and/or registrations.

          5.    The trademarks asserted by Plaintiff as being infringed are not being

infringed upon either directly, indirectly, contributorily or by inducement.

          6.    The trademarks/trade dress asserted by Plaintiff as being infringed are

invalid and unenforceable for failure to comply with the trademark laws of the United

States.

                                     COUNT II
                                COPYRIGHT INFRINGEMENT

          7.    The allegations of paragraphs 1-6 are incorporated herein, and re-plead.

          8.    Plaintiff has been using the Yard Cup Design as part of its business model,

by its own admission, since at least as early as January 10, 1992.

          9.    Bohannan Defendant, acting alone, designed the “hand grenade” cup, on

or around February 1997.

          10.   Bohannan Defendant is the owner of the copyright in the design contained

in Exhibit A.

          11.   Bohannan Defendant filed an application to register his copyrights for the



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visual works embodied in the design contained in Exhibit A with the United States

Library of Congress Copyright Office on or about May 18, 2011, copies of which are

included in Exhibit B to this Complaint.

        12.    Plaintiff has never paid Bohannan Defendant for the use of the design

contained in Exhibit A.

        13.    Plaintiff was never licensed or otherwise authorized to use the design

contained in Exhibit A once Bohannan Defendant terminated business relations with

Plaintiff.

        14.    The products shown in Exhibit C [Plaintiff’s design cup] are substantial

copies of the design depicted in the work contained in Exhibit A, or in the alternative, a

derivative work of the work contained in Exhibit A.

        15.    Plaintiff produced the items in Exhibit A and made public displays of the

same items.

        16.    Plaintiff’s production and/or exhibition of the items in Exhibit A are a

violation of 17 U.S.C. §106 (1) or (2) and/or (5).

        17.    Plaintiff, without the knowledge or consent of Defendant, delivered copies

of the design contained in Exhibit A to various parties via its chain of bars, including, but

not limited to, “Tropical Isle,” located on Bourbon Street in New Orleans.

        18.    Plaintiff’s unauthorized distribution of copies of the design contained in

Exhibit A, as alleged in paragraph 17, was a violation of 17 U.S.C. §106(3).

        19.    The public display referenced in paragraph 17, above, was a violation of

U.S.C. §106(1) or (2) and/or (5).


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       20.     Bohannan Defendant communicated with Plaintiff regarding the design

and his protection in the design.

       21.     Plaintiff’s continued production of the design contained in Exhibit A or, in

the alternative, Plaintiff’s continued preparation of derivative works from the design

contained in Exhibit A after being informed of Defendant’s copyright in the design

contained in Exhibit A, constituted willful copyright infringement.

       22.     On information and belief Earl Bernhardt and Pamela Fortner are the

principal owners and directors of 721 Bourbon, Inc.

       23.     Earl Bernhardt and Pamela Fortner had the authority to control whether

721 Bourbon, Inc., copied Bohannan Defendant’s design.

       24.     Earl Bernhardt and Pamela Fortner benefited financially from 721

Bourbon, Inc.’s copying of Defendant’s design.

       25.     Earl Bernhardt and Pamela Fortner are vicariously liable for the infringing

acts of 721 Bourbon, Inc.

       26.     As a driving force behind Plaintiff’s acts of infringement, who directly

participated therein and benefitted financially thereform, Earl Bernhardt and Pamela

Fortner are jointly liable with Plaintiff, for its acts of copyright infringement       as

complained of herein and are made additional parties hereto pursuant to Federal Rules of

Civil Procedure 13(h) and 20(a)(2) regarding Counterclaims and Permissive Joinder of

Additional Parties.




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                            COUNT III
          TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

       27.     The allegations of paragraphs 1-25 are incorporated herein, and re-plead.

       28.     This Count, arising under Louisiana Civil Code Article 2315, is for

tortious interference with business relations.

       29.     Plaintiff, Earl Bernhardt and Pamela Fortner have improperly,

intentionally, willfully and with malice, interfered with Defendants’ current and

prospective business relations. Plaintiff, Earl Bernhardt and Pamela Fortner have

instructed some of its vendors/suppliers not to do business with Defendants. Plaintiff,

Earl Bernhardt and Pamela Fortner have instructed Defendants’ prospective contractors

not to provide services to Defendants. Plaintiff, Earl Bernhardt and Pamela Fortner have

instructed Plaintiff’s employees not to patronize or associate with Defendants. Plaintiffs,

Earl Bernhardt and Pamela Fortner intentionally attempted to interfere with lease for

Defendants’ business establishment. Plaintiff, Earl Bernhardt and Pamela Fortner have

instructed bands not to patronize, enter or play at Defendants’ business establishments.

Plaintiff, Earl Bernhardt and Pamela Fortner have interfered with Defendants’ current and

prospective customers directly and through deceptive advertising campaigns. Plaintiff,

Earl Bernhardt and Pamela Fortner have directly interfered with Defendants’ change of

use hearing with the Vieux Carre Commission on April 19th, 2011.            Plaintiff, Earl

Bernhardt and Pamela Fortner have interfered with Defendants’ participation in Six

String and Pardi Gras commercial events. Such tortious interference is causing

prospective suppliers, vendors, contractors, bands not to do business with Defendants or




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provide services to same; is causing customers to transfer their business from

Defendants’ establishments to Plaintiff’s establishments; and is hindering Defendants’

change of use application with the Vieux Carre Commission.

       30.     As a direct and proximate result of Plaintiff, Earl Bernhardt and Pamela

Fortner’s aforesaid tortious interference, Defendants have been damaged, and Defendants

are entitled to recover all such damages sustained.

       31.     Defendants are further entitled to an order, preliminarily and permanently

enjoining Plaintiff from further tortious interference with Defendants’ current and

prospective business relations.

       32.     On information and belief Earl Bernhardt and Pamela Fortner are the

principal owners and directors of 721 Bourbon, Inc.

       33.     Earl Bernhardt and Pamela Fortner had the authority to control whether

721 Bourbon, Inc., tortiously interfered with Defendants’ business relations.

       34.     As a driving force behind Plaintiff’s acts of tortious interference, who

directly participated therein and benefitted financially thereform, Earl Bernhardt and

Pamela Fortner are jointly liable with Plaintiff, for its acts of tortious interference as

complained of herein and are made additional parties hereto pursuant to Federal Rules of

Civil Procedure 13(h) and 20(a)(2) regarding Counterclaims and Permissive Joinder of

Additional Parties.

                                         COUNT IV
                                  UNFAIR TRADE PRACTICES

       35.     The allegations of paragraphs 1-31 are incorporated herein, and re-plead.




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       36.     This Count, arising under LA. REV. STAT. § 51:1401 et seq., is for unfair

methods of competition and unfair and deceptive acts or practices.

       37.     Plaintiff’s aforesaid activities detailed in Defendants’ Counterclaims

Count I-III also comprise unfair methods of completion, and unfair and deceptive acts

and practices in the conduct of trade and commerce, in violation of LA. REV. STAT. §

51:1405, and causing Defendants’ irreparable harm.

       38.     Pursuant to LA. REV. STAT.          § 51:1409, Defendants are entitled to

recover from Plaintiff, all actual damages sustained by Defendants as a result of

Plaintiff’s aforesaid acts. Defendants are unable to ascertain, at present, the full extent of

the monetary damages it has suffered thereby.

       39.     Unless enjoined, Plaintiff’s unfair methods of completion, and unfair and

deceptive acts and practices will cause BEA Defendant further irreparable harm, and

BEA Defendant is entitled to injunctive relief, pursuant tom inter alia, LA. REV. STAT.

§§ 51:1407 and 51:1408.

       40.     On information and belief Earl Bernhardt and Pamela Fortner are the

principal owners and directors of 721 Bourbon, Inc.

       41.     Earl Bernhardt and Pamela Fortner had the authority to control 721

Bourbon, Inc.’s unfair trade practices

       42.     As a driving force behind Plaintiff’s acts of unfair trade practices, who

directly participated therein and benefitted financially thereform, Earl Bernhardt and

Pamela Fortner are jointly liable with Plaintiff, for its acts of tortious interference as

complained of herein and are made additional parties hereto pursuant to Federal Rules of


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Civil Procedure 13(h) and 20(a)(2) regarding Counterclaims and Permissive Joinder of

Additional Parties.

                                    COUNT V
                              BREACH OF OBLIGATION

       43.     The allegations of paragraphs 1-35 are incorporated herein, and re-plead.

       44.     This Count, arising under LA. CIV. CODE, arts. 1983-1987, is for breach

of obligation, including breach of the covenant of good faith performance of an

obligation.

       45.     On February 18, 2010, Tropical Isle’s Original Papa Joe’s, Inc., Bradley S.

Bohannan, Arita Bohannan, Earl Bernhardt and Pamela Fortner entered into a Stock

Redemption Agreement whereby Tropical Isle’s Original Papa Joe’s, Inc. purchased the

shares owned by Bradley S. Bohannan. The Stock Redemption Agreement: i) prohibits

Plaintiff, Earl Bernhardt and Pamela Fortner from making any disparaging or negative

comments regarding Bohannan Defendant, and his Affiliates, employees, officers and

directors; and ii) releases Bohannan Defendant and his Affiliates from any and all claims,

liabilities, and obligations whatsoever arising on or prior to the effective date of the Stock

Redemption Agreement, prohibits Plaintiff, Earl Bernhardt and Pamela Fortner from

directly or indirectly asserting claims or causes of actions against Bohannan Defendant

and his Affiliates for same, and provides that Earl Bernhardt and Pamela Fortner

indemnify Bohannan Defendant and his Affiliates from such claims or actions.

       46.     Upon information and belief, Plaintiff, Earl Bernhardt, and Pamela Fortner

have repeatedly disparaged and made negative comments regarding Bradley S.




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Bohannan, Arita Bohannan, their Affiliates, employees, officers and directors including

but not limited to assertions that Bradley S. Bohannan as a member of the “Mafia.”

       47.     Upon information and belief, Plaintiff’s claims in this action against

Defendants were released by Plaintiff, Earl Bernhardt, and Pamela Fortner in the Stock

Purchase Agreement and Plaintiff, Earl Bernhardt, and Pamela Fortner has breached the

Stock Purchase Agreement by Plaintiff asserting said claims in this action and failing to

indemnify Bohannan Defendant and his Affiliates for same.

       48.     Pursuant to Federal Rules of Civil Procedure 13(h) and 20(a)(2) regarding

Counterclaims and Permissive Joinder of Additional Parties, Earl Bernhardt and Pamela

Fortner are joined as additional parties to this Counterclaim as Earl Bernhardt and Pamela

Fortner are the principals of both Plaintiff, 721 Bourbon, Inc. and Tropical Isle’s Original

Papa Joe’s, Inc. and signatories to the Stock Redemption Agreement which is a subject of

Plaintiff’s Complaint.

       49.     The Stock Redemption Agreement constitute conventional obligations that

are binding upon Plaintiff, Earl Bernhardt and Pamela Fortner, and Plaintiff, Earl

Bernhardt and Pamela Fortner, through their aforesaid conduct, have breached these

obligations, and the covenants of good faith performance attendant thereto, in

contravention of LA. CIV. CODE art. 1983.

       50.     Defendants have been damaged by Plaintiff, Earl Bernhardt and Pamela

Fortner’s breaches of their obligations, and are entitled to recover all such damages

sustained, pursuant to LA. CIV. Code art. 1989.

       51.     Defendants are further entitled to an order, preliminarily and permanently


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enjoining Plaintiff, Earl Bernhardt and Pamela Fortner from further breaches of their

aforesaid obligation, without any showing of irreparable harm, under LA. CIV. CODE

art. 1987.

                                          COUNT VI
                                         DEFAMATION

       52.     The allegations in paragraphs 1-51 are incorporated herein, and re-plead.

       53.     This Count, arising under Louisiana law, is for the intentional tort of

defamation.

       54.     Upon information and belief, Plaintiff has made false and defamatory oral

statements regarding Defendant Bradley S. Bohannan.

       55.      Pursuant to Federal Rules of civil Procedure 13(h) and 20(a)(2) regarding

Counterclaims and Permissive Joinder of Additional Parties, Earl Bernhardt and Pamela

Fortner are joined as additional parties to this Counterclaim as Earl Bernhardt and Pamela

Fortner are the principals of Plaintiff, 721 Bourbon, Inc.

       56.      Upon information and belief, Plaintiff’s principals have intentionally and

maliciously made false and defamatory statements referring to Mr. Bradley S. Bohannan

as “a member of the Mafia.”

       57.     Plaintiff’s principals, Earl Bernhardt and Pamela Fortner, have

orally published these defamatory references to third-parties.

       58.     Because these oral references both expressly and impliedly accuse Mr.

Bohannan of criminal conduct, such comments are defamatory per se.

       59.     Mr. Bohannan’s personal reputation and his standing in the community

have been injured by these defamatory statements.


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       60.     The afore-said conduct has caused Mr. Bohannan to incur damages, and

he is therefore entitled to recover from Plaintiff and Plaintiff’s principals all such

damages sustained.
                                     JURY DEMAND

       Defendants demand a trial by jury on all issues triable by jury.

                                 PRAYER FOR RELIEF

       Defendants specifically deny that it currently infringe or have ever infringed any

trademark belonging to Plaintiff and further denies that Plaintiff is entitled to any relief

whatsoever from the District Court. Defendants further deny each and every factual

allegation in the prayer for relief of the Complaint, including subparagraphs thereof that

are not explicitly admitted above.

   WHEREFORE, Defendants pray that this Court enter a judgment:

       A.      Against Plaintiff and in favor of Defendants;

       B.      Dismissing Plaintiff’s Complaint in its entirety with prejudice and

               adjudging that Plaintiff is entitled to no relief whatsoever from

               Defendants;

       C.      Declaring and finding that Defendants have not infringed any trademark

               owned by Plaintiff;

       D.      Declaring and finding that the Plaintiff’s trademarks, if any, are invalid

               and unenforceable against Defendants;

       E.      Adjudging that Plaintiff take nothing by its Complaint;

       F.      That the Court find that Plaintiff, Earl Bernhardt, and Pamela Fortner have



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          committed copyright infringement;

    G.    That Plaintiff, Earl Bernhardt, and Pamela Fortner be found to have

          willfully infringed Bohannan Defendant’s copyright;

    H.    An accounting to determine all gains, profits, savings, and advantages

          obtained by Plaintiff, Earl Bernhardt, and Pamela Fortner as a result of

          their wrongful actions.

    I.    That the Plaintiff, Earl Bernhardt, and Pamela Fortner be cast in judgment

          to the Bohannan Defendant for Bohannan Defendant’s lost profits and any

          additional profits of the Plaintiff, Earl Bernhardt, and Pamela Fortner

          pursuant to 17 U.S.C. §504(a) and (b), or in the alternative, for the amount

          of Statutory Damages as provided by 17 U.S.C. §504(c);

    J.    That Plaintiff, Earl Bernhardt, and Pamela Fortner be enjoined from any

          and all further copying of Bohannan Defendant’s copyrighted material;

    K.    Granting a preliminary injunction, and permanent injunctive relief against

          Plaintiff, Earl Bernhardt, Pamela Fortner, their agents, representatives,

          officers, employees and all those acting in concert therewith, restraining

          and enjoining them from further tortious interference with the business

          relations of Defendants;

    L.    Ordering Plaintiff, Earl Bernhardt, Pamela Fortner to pay compensatory

          damages to Defendants for Plaintiff, Earl Bernhardt and Pamela Fortner’s

          acts of tortious interference;

    M.    Granting, pursuant to LA. REV. STAT. §§ 51:1407 and/or 51:1408, a



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          preliminary injunction, and permanent injunctive relief against Plaintiff,

          Earl Bernhardt, Pamela Fortner, their agents, representatives, officers,

          employees and all those acting in concert therewith, restraining and

          enjoining them from further unfair methods of completion, and unfair and

          deceptive acts or practices with respect to Defendants;

    N.    Ordering, pursuant to LA. REV. STAT. §§ 51:1409, Plaintiff, Earl

          Bernhardt, and Pamela Fortner to pay the actual damages suffered by

          Defendants as a result of Plaintiff, Earl Bernhardt, and Pamela Fortner’s

          unfair methods of completion, and unfair and deceptive acts and practices;

    O.    Granting, pursuant to LA. CIV. CODE ART. 1987, a preliminary

          injunction, and permanent injunctive relief against Plaintiff, Earl

          Bernhardt, Pamela Fortner, their agents, representatives, officers,

          employees and all those acting in concert therewith, restraining and

          enjoining them from further breaches of the obligations embodied in the

          Stock Purchase Agreement, whether or not Defendants are determined to

          have suffered irreparable harm from such breaches;

    P.    Ordering, pursuant to LA CIV. CODE art. 1989, Plaintiff, Earl Bernhardt,

          Pamela Fortner to pay to Defendants all damages sustained by Defendants

          as a result of Plaintiff, Earl Bernhardt and Pamela Fortner’s breaches of

          obligation;

    Q.    Ordering Plaintiff, Earl Bernhardt, and Pamela Fortner to pay Defendant

          Bradley S. Bohannan all damages sustained by him as a result of



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          defamatory statements made by Plaintiff’s principals, Earl Bernhardt and

          Pamela Fortner’s

    R.    Awarding Defendants their costs and attorney’s fees;

    S.    Ordering Plaintiff, Earl Bernhardt, and Pamela Fortner to file, and serve

          upon Defendants, within ten (10) days following the Court’s issuance of a

          preliminary or permanent injunction in this action, a written report, under

          oath, detailing the manner and form in which Defendants have complied

          with such injunction; and

    T.    Awarding Defendants such other and further relief as the Court deems just

          and proper, or as to which Defendants may show they are entitled at trial.

                                Respectfully submitted,

                                PROVOSTY & GANKENDORFF, L.L.C.


                                /s/ Christophe B. Szapary_______________
                                CHRISTOPHE B. SZAPARY (Bar #25890)
                                KEELIE M. BROOM (Bar # 33032)
                                650 Poydras Street, Suite 2700
                                New Orleans, Louisiana 70130
                                Telephone: 504-410-2795
                                Facsimile: 504-410-2796


                                And,




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                                      nolaIP, L.L.C.

                                      /s/ Neil Coig           _______________
                                      NEIL COIG (Bar # 28001)
                                      P.O. Box 24100
                                      New Orleans, LA 70184
                                      Telephone: 504-717-4600
                                     Facsimile: 504-717-4602

                                      Attorneys for Defendants, B.E.A., Inc., Bradley S.
                                      Bohannan, and Stephen J. Smith,
                                      Arita M.L. Bohannan

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of May, 2011, a copy of the above and

foregoing Defendants’ Answer, Affirmative Defenses, Counterclaims and Request for

Trial by Jury was filed electronically with the Clerk of Court using the CM/ECF system.

Notice of this filing will be sent to Plaintiff’s counsels of record by operation of the

Court/s electronic filing system. I also certify that a copy of the foregoing will be sent to

all non-CM/ECF participants by United States Mail, properly addressed and postage

prepaid.

                                              /s/ Christophe B. Szapary_______________




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